                                        Case 4:20-cv-03919-CW           Document 981         Filed 06/09/25      Page 1 of 2




                                   1

                                   2

                                   3

                                   4

                                   5

                                   6                             IN THE UNITED STATES DISTRICT COURT

                                   7                         FOR THE NORTHERN DISTRICT OF CALIFORNIA

                                   8                                                            Case No. 20-cv-03919 CW
                                         IN RE: COLLEGE ATHLETE NIL
                                   9     LITIGATION                                             NOTICE OF INTENT TO APPOINT
                                                                                                MAGISTRATE JUDGE NATHANAEL
  United States District Court
Northern District of California




                                  10                                                            COUSINS AS SPECIAL MASTER
                                  11

                                  12

                                  13

                                  14

                                  15          On June 6, 2025, the Court granted Plaintiffs’ motion for final approval of the Fourth
                                  16   Amended Stipulation and Settlement Agreement (SA), and it ordered the entry of the Second
                                  17   Amended Injunctive Relief Settlement (hereinafter, IRS) pursuant to its terms and conditions. See
                                  18   Docket No. 979. The SA provides that the Court may appoint a special master to perform certain
                                  19   functions, including (1) to resolve disputes that may arise concerning compliance with, the validity
                                  20   of, interpretation, or enforcement of the terms and conditions of the SA and the IRS, where those
                                  21   decisions shall be appealable to the Court unless the parties agree that the special master’s ruling
                                  22   shall be final without further appeal, see SA ¶ 45, IRS Article 6, § 1; and (2) to resolve
                                  23   applications by Class Counsel for attorneys’ fees as a percentage of the total amount spent by
                                  24   Division I institutions under the Pool and for monitoring and enforcement of the IRS while the
                                  25   IRS remains in effect, see SA ¶ 27.
                                  26          The Court hereby provides notice to the parties of its intent to appoint Magistrate Judge
                                  27   Nathanael Cousins under Federal Rule of Civil Procedure 53 to serve as the special master with
                                  28   respect to every matter regarding which a special master can be appointed by the Court under the
                                        Case 4:20-cv-03919-CW            Document 981         Filed 06/09/25      Page 2 of 2




                                   1   terms of the SA and IRS, and to the full extent permissible under the terms of the SA, IRS, and

                                   2   Rule 53. Magistrate Judge Cousins is very familiar with this case and prior related cases

                                   3   because the Court referred all non-dispositive matters to him for resolution in all such cases. For

                                   4   any decision by Magistrate Judge Cousins that is not final and may be appealed to this Court, the

                                   5   parties may file objections to it within fourteen days of the date it is filed on the docket.

                                   6          The Court’s appointment of Magistrate Judge Cousins as special master shall become

                                   7   effective within seven days of the date of this Order if no objection is made by the parties within

                                   8   that time frame. The Court will construe the absence of objections to the appointment as consent

                                   9   to the appointment. See 28 U.S.C. § 636(b)(2).
  United States District Court
Northern District of California




                                  10          IT IS SO ORDERED.

                                  11   Dated: June 9, 2025
                                                                                              CLAUDIA WILKEN
                                  12                                                          United States District Judge
                                  13

                                  14

                                  15

                                  16

                                  17

                                  18

                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26

                                  27

                                  28
                                                                                          2
